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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

 FEDERAL TRADE COMMISSION,
           Plaintiff,

             v.                                          Case No.: 4:23-CV-03560-KH

 U.S. ANESTHESIA PARTNERS, INC., et al.,
            Defendants.

                             Plaintiff Federal Trade Commission’s
                  Notice of Order to Dismiss Appeal Entered by Fifth Circuit

       The FTC opposed Defendant U.S. Anesthesia Partners, Inc.’s Motion for Stay Pending

Interlocutory Appeal in part because neither issue presented is appealable under the collateral

order doctrine. See FTC’s Opp. to USAP’s Mot. for Stay Pending Interlocutory Appeal 1-8, ECF

No. 159. Consistent with that position, the FTC filed a motion in the Fifth Circuit seeking to

dismiss USAP’s appeal for lack of appellate jurisdiction. See FTC’s Notice of Motion to Dismiss

Appeal Filed in Fifth Circuit, ECF No. 164. The Fifth Circuit granted the FTC’s motion to

dismiss on August 15, 2024. The Fifth Circuit’s order is attached as Exhibit A.

       The FTC and USAP agree that there is no longer reason for this Court to rule on USAP’s

Motion for Stay Pending Interlocutory Appeal, ECF No. 155. Accordingly, the Court should

deny USAP’s motion as moot.


Dated: August 15, 2024                               Respectfully submitted,

                                                     /s/ Timothy Kamal-Grayson
                                                     Timothy Kamal-Grayson (Pro Hac Vice)
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                                                     Commission

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                                CERTIFICATE OF SERVICE

       I hereby certify that on this day, I caused the Plaintiff Federal Trade Commission’s

Notice of Order to Dismiss Appeal Entered by Fifth Circuit and accompanying exhibit to be

served on all counsel of record using the ECF system of the United States District Court for the

Southern District of Texas.



Dated: August 15, 2024

                                                     /s/ Timothy Kamal-Grayson
                                                     Timothy Kamal-Grayson




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